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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

DANIELLE OPITZ,

                    Plaintiff,
v.                                                           COMPLAINT


CONAGRA BRANDS, INC.


                    Defendant.

                                          COMPLAINT

       Plaintiff Danielle Opitz (“Plaintiff”), for her Complaint against Defendant Conagra Brands,

Inc. (“Conagra Brands”), states and alleges as follows:

                                   NATURE OF THE ACTION

       1.        This is an action for an award of damages and other relief on behalf of Plaintiff

Danielle Opitz, a former employee of Defendant Conagra Brands. Ms. Opitz was the victim of

unlawful retaliation following her opposition to Defendant’s unlawful, ongoing violations of

federal safety standards adopted by OSHA set forth in specific, repeated complaints made by Ms.

Opitz to Defendant’s management representatives. Ms. Opitz’s complaints in this regard were

made in furtherance of the Food Safety Modernization Act (“FSMA”), 21 U.S.C. Section 399d, et

seq., as part of her efforts to prevent one or more violations of the FSMA. This action arises under

the anti-retaliation provisions of the FSMA, 21 U.S.C. Section 399d and the common law of the

State of Iowa.

                                 JURISDICTION AND VENUE

       2.        This Court has jurisdiction over the subject matter pursuant to 28 U.S.C. Sections

1331, 1345, and 1391.
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        3.      This Court has personal jurisdiction over Defendant pursuant to 21 U.S.C. Section

399d, which provides that a complainant under the FSMA “may bring an action at law or equity

for de novo review in the appropriate district court of the United States with jurisdiction, which

shall have jurisdiction over such an action without regard to the amount in controversy, and which

action shall, at the request of either party to such action, be tried by the court with a jury.”

        4.      This Court has supplemental jurisdiction over any claims made pursuant to the laws

of the State of Iowa pursuant to 28 U.S.C. Section 1367 because the claims are so related to the

claims within this Court’s original jurisdiction that they form part of the same case or controversy.

        5.      This action properly lies in the Southern District of Iowa pursuant to 28 U.S.C.

Section 1391(b) on the basis that the claim arose in this judicial district.

                                              PARTIES

        6.      Plaintiff is a resident of the State of Nebraska and a former employee of Defendant

Conagra Brands.

        7.      Defendant Conagra Brands is a corporation organized under the laws of the State

of Delaware that makes and sells food products sold in supermarkets, restaurants, and food service

establishments.    At its facility in Council Bluffs, Iowa, Conagra Brands manufactures and

packages consumer frozen food products for distribution throughout the United States and employs

more than 750 employees. Conagra Brands is covered entity engaged in the manufacture,

processing, packing, transporting, distribution, reception, holding, or importation of food as set

forth in relevant anti-retaliation provisions of the Food Safety Modernization Act (“FSMA”), 21

U.S.C. Section 399d, et seq. Conagra Brands is an employer for purposes of the Iowa Occupational

Safety and Health Act contained within Chapter 88 of the Iowa Code.




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             U.S. FOOD AND DRUG ADMINISTRATION AND FOOD SAFETY

       8.      The Food, Drug, and Cosmetic (“FD&C”) Act and its implementing regulations

prohibit the adulteration or misbranding of food in interstate commerce, or the receipt,

introduction, or delivery for introduction into interstate commerce of any food that is adulterated

or misbranded. 21 U.S.C. § 301, et seq. According to the FD&C Act, food is adulterated “if it has

been prepared, packed, or held in unsanitary conditions in which it may have become contaminated

with filth, or whereby it may have been rendered injurious to health.” 21 U.S.C. § 342(a)(4).

       9.      The FSMA amended the FD&C Act by allowing for more effective prevention of

food safety issues in the United States domestic food supply. The FSMA empowers the U.S. Food

and Drug Administration (“FDA”) with broad authority to regulate the way foods are grown,

harvested, processed, packaged, and sold.

       10.     The FSMA’s Preventive Controls for Human Food Rule requires that domestic

food facilities that are required to register with Section 415 of the FD&C Act must comply with

the requirements for risk-based preventive controls mandated by the FSMA. The rule also creates

new requirements for certain domestic and foreign facilities to establish and implement hazard

analysis and risk-preventive controls for human food. The rule implements the requirements of

FSMA for covered facilities to have a food safety plan in place that includes an analysis of hazards

and risk-based preventive controls to minimize or prevent identified hazards. Specifically, the rule

establishes requirements for a written food safety plan, hazard analysis, preventive controls,

monitoring, corrective actions and corrections, verification, supply-chain program, recall plan, and

associated records. 21 C.F.R. § 117, et seq.

       11.     The Current Good Manufacturing Practices (“CGMP”) enforced by the FDA

provide systems help to ensure the safety of food production. CGMP regulations generally address



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matters including appropriate personal hygienic practices, design and construction of a food plant

grounds, plant equipment, sanitary operations, facility sanitation, and production and process

controls during the production of food. 21 C.F.R. § 117, et seq.

       12.     Section 117.4 of the CGMP provides in relevant part:

               Qualifications of individuals who manufacture, process, pack, or
               hold food.

               (a) Applicability. (1) The management of an establishment must
               ensure that all individuals who manufacture, process, pack, or hold
               food subject to subparts B and F of this part are qualified to perform
               their assigned duties.

               (2) The owner, operator, or agent in charge of a facility must ensure
               that all individuals who manufacture, process, pack, or hold food
               subject to subpart C, D, E, F, OR G of this part are qualified to
               perform their assigned duties.

               (b) Qualifications of all individuals engaged in manufacturing,
               processing, packing, or holding food. Each individual engaged in
               manufacturing, processing, packing, or holding food (including
               temporary or seasonal personnel) or in the supervision thereof must:

               (1) Be a qualified individual as that term is defined in 117.3 – i.e.,
               have the education, training, or experience (or a combination
               thereof) necessary to manufacture, process, pack, or hold clean and
               safe as appropriate to the individual’s assigned duties; and

               (2) Receive training in the principles of food hygiene and food
               safety, including the importance of employee health and
               personal hygiene, as appropriate to the food, the facility and the
               individual’s assigned duties.

               (c) Additional qualifications of supervisory personnel.
               Responsibility for ensuring compliance with individuals with
               the requirements of this part must be clearly assigned to
               supervisory personnel who have the education, training, or
               experience (or a combination thereof) necessary to supervise the
               production of clean and safe food.

               (d) Records. Records that document training required by paragraph
               (b)(2) of this section must be established and maintained.

       21 C.F.R. § 117.4 (emphasis added)

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13.   Section 117.10 of the CGMP provides in relevant part:

      Personnel.

      The management of the establishment must take reasonable
      measures and precautions to ensure the following:

      (a) Disease control. Any person who, by medical examination or
      supervisory observation, is shown to have, or appears to have,
      an illness, open lesion, including boils, sores, or infected wounds,
      or any other abnormal source of microbial contamination by
      which there is a reasonable possibility of food, food-contact
      surfaces, or food-packaging materials becoming contaminated,
      must be excluded from any operations which may be expected
      to result in such contamination until the condition is corrected,
      unless conditions such as open lesions, boils, and infected
      wounds are adequately covered (e.g., by an impermeable cover).
      Personnel must be instructed to report such health conditions to
      their supervisors.

      (b) Cleanliness. All persons working in direct contact with food,
      food-contact surfaces, and food-packaging materials must
      conform to hygienic practices while on duty to the extent
      necessary to protect against allergen cross-contact and against
      contamination of food. The methods for maintaining cleanliness
      include:

      (1) Wearing outer garments suitable to the operation in a
      manner that protects against allergen cross-contact and against
      the contamination of food, food-contact surfaces, or food-
      packaging materials.

      (2) Maintaining adequate personal cleanliness.

      (3) Washing hands thoroughly (and sanitizing if necessary to
      protect    against      contamination     with     undesirable
      microorganisms) in an adequate hand-washing facility before
      starting work, after each absence from the work station, and at
      any other time when the hands may have become soiled or
      contaminated.

      …

      (5) Maintaining gloves, if they are used in food handling, in an
      intact, clean, and sanitary condition.


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       …

       (9) Taking any other necessary precautions to protect against
       allergen cross-contact and against contamination of food, food-
       contact surfaces, or food-packaging materials with
       microorganisms or foreign substances (including perspiration,
       hair, cosmetics, tobacco, chemicals, and medicines applied to the
       skin).

21 C.F.R. § 117.10 (emphasis added)

14.    Section 117.20 of the CGMP provides in relevant part:

       Plant and grounds.
       …

       (b) Plant construction and design. The plant must be suitable in
       size, construction, and design to facilitate maintenance and
       sanitary operations for food-production purposes (i.e.,
       manufacturing, processing, packing, and holding). The plant
       must:

       (1) Provide adequate space for such placement of equipment
       and storage of materials as is necessary for maintenance,
       sanitary operations, and the production of safe food.

       (2) Permit the taking of adequate precautions to reduce the
       potential for allergen cross-contact and for contamination of
       food, food-contact surfaces, or food-packaging materials with
       microorganisms, chemicals, filth, and other extraneous
       material. The potential for allergen cross-contact and for
       contamination may be reduced by adequate food safety controls
       and operating practices or effective design, including the
       separation of operations in which allergen cross-contact and
       contamination are likely to occur, by one or more of the
       following means: location, time, partition, air flow systems, dust
       control systems, enclosed systems, or other effective means.

       …

       (4) Be constructed in such a manner that floors, walls, and
       ceilings may be adequately cleaned and kept clean and kept in
       good repair; that drip or condensate from fixtures, ducts and
       pipes does not contaminate food, food-contact surfaces, or food-
       packaging materials; and that aisles or working spaces are
       provided between equipment and walls and are adequately


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       unobstructed and of adequate width to permit employees to
       perform their duties and to protect against contaminating food,
       food-contact surfaces, or food-packaging materials with
       clothing or personal contact.

       …

       (6) Provide adequate ventilation or control equipment to
       minimize dust, odors and vapors (including steam and noxious
       fumes) in areas where they may cause allergen cross-contact or
       contaminate food; and locate and operate fans and other air-
       blowing equipment in a manner that minimizes the potential for
       allergen cross-contact and for contaminating food, food-
       packaging materials, and food-contact surfaces.

       …

21 C.F.R. § 117.20 (emphasis added)

15.    Section 117.35 of the CGMP provides in relevant part:

       Sanitary Operations.

       (a) General maintenance. Buildings, fixtures, and other physical
       facilities of the plant must be maintained in a clean and sanitary
       condition and must be kept in repair adequate to prevent food
       from becoming adulterated. Cleaning and sanitizing of utensils
       and equipment must be conducted in a manner that protects
       against allergen cross-contact and against contamination of
       food, food-contact surfaces, or food-packaging materials.

       …

       (d) Sanitation of food-contact surfaces. All food-contact
       surfaces, including utensils and food-contact surfaces of
       equipment, must be cleaned as frequently as necessary to
       protect against allergen cross-contact and against
       contamination of food.

       (1) Food-contact surfaces used for manufacturing/processing,
       packing, or holding low-moisture food must be in a clean, dry,
       sanitary condition before use. When the surfaces are wet-
       cleaned, they must, when necessary, be sanitized and thoroughly
       dried before subsequent use.




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       (2) In wet processing, when cleaning is necessary to protect
       against allergen cross-contact or the introduction of
       microorganisms into food, all food-contact surfaces must be
       cleaned and sanitized before use and after any interruption
       during which the food-contact surfaces may have become
       contaminated. Where equipment and utensils are used in a
       continuous production operation, the utensils and food-contact
       surfaces of the equipment must be cleaned and sanitized as
       necessary.

       (3) Single-service articles (such as utensils intended for one-time
       use, paper cups, and paper towels) must be stored, handled, and
       disposed of in a manner that protects against allergen cross-contact
       and against contamination of food, food-contact surfaces, or food-
       packaging materials.

       (e) Sanitation of non-food-contact surfaces. Non-food-contact
       surfaces of equipment used in the operation of a food plant must
       be cleaned in a manner and as frequently as necessary to protect
       against allergen cross-contact and against contamination of
       food, food-contact surfaces, and food-packaging materials.

       (f) Storage and handling of cleaned portable equipment and
       utensils. Cleaned and sanitized portable equipment with food-
       contact surfaces and utensils must be stored in a location and
       manner that protects food-contact surfaces from allergen cross-
       contact and from contamination.

21 C.F.R. § 117.35 (emphasis added)

16.    Section 117.37 of the CGMP provides in relevant part:

       Sanitary facilities and controls.
       Each plant must be equipped with adequate sanitary facilities and
       accommodations including:

       …

       (e) Hand-washing facilities. Each plant must provide hand-
       washing facilities designed to ensure that an employee's hands
       are not a source of contamination of food, food-contact surfaces,
       or food-packaging materials, by providing facilities that are
       adequate, convenient, and furnish running water at a suitable
       temperature.

21 C.F.R. § 117.35 (emphasis added)

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17.    Section 117.40 of the CGMP provides in relevant part:

       Equipment and utensils.

       (a)(1) All plant equipment and utensils used in manufacturing,
       processing, packing, or holding food must be so designed and of
       such material and workmanship as to be adequately cleanable,
       and must be adequately maintained to protect against allergen
       cross-contact and contamination.

       (2) Equipment and utensils must be designed, constructed, and used
       appropriately to avoid the adulteration of food with lubricants, fuel,
       metal fragments, contaminated water, or any other contaminants.

       (3) Equipment must be installed so as to facilitate the cleaning
       and maintenance of the equipment and of adjacent spaces.

       (4) Food-contact surfaces must be corrosion-resistant when in
       contact with food.

       (5) Food-contact surfaces must be made of nontoxic materials and
       designed to withstand the environment of their intended use and the
       action of food, and, if applicable, cleaning compounds, sanitizing
       agents, and cleaning procedures.

       (6) Food-contact surfaces must be maintained to protect food
       from allergen cross-contact and from being contaminated by
       any source, including unlawful indirect food additives.

       (b) Seams on food-contact surfaces must be smoothly bonded or
       maintained so as to minimize accumulation of food particles, dirt,
       and organic matter and thus minimize the opportunity for growth of
       microorganisms and allergen cross-contact.

       (c) Equipment that is in areas where food is manufactured,
       processed, packed, or held and that does not come into contact
       with food must be so constructed that it can be kept in a clean
       and sanitary condition.

       …
21 C.F.R. § 117.40 (emphasis added)

18.    Section 117.80 of the CGMP provides in relevant part:

       Process and controls.

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      (a) General. (1) All operations in the manufacturing, processing,
      packing, and holding of food (including operations directed to
      receiving, inspecting, transporting, and segregating) must be
      conducted in accordance with adequate sanitation principles.

      (2) Appropriate quality control operations must be employed to
      ensure that food is suitable for human consumption and that
      food-packaging materials are safe and suitable.

      (3) Overall sanitation of the plant must be under the supervision
      of one or more competent individuals assigned responsibility for
      this function.

      (4) Adequate precautions must be taken to ensure that
      production procedures do not contribute to allergen cross-
      contact and to contamination from any source.

      (5) Chemical, microbial, or extraneous-material testing
      procedures must be used where necessary to identify sanitation
      failures or possible allergen cross-contact and food
      contamination.

      (6) All food that has become contaminated to the extent that it is
      adulterated must be rejected, or if appropriate, treated or processed
      to eliminate the contamination.

      …

      (c) Manufacturing operations. (1) Equipment and utensils and
      food containers must be maintained in an adequate condition
      through appropriate cleaning and sanitizing, as necessary.
      Insofar as necessary, equipment must be taken apart for
      thorough cleaning.

      (2) All food manufacturing, processing, packing, and holding
      must be conducted under such conditions and controls as are
      necessary to minimize the potential for the growth of
      microorganisms, allergen cross-contact, contamination of food,
      and deterioration of food.

      …

      (5) Work-in-process and rework must be handled in a manner
      that protects against allergen cross-contact, contamination, and
      growth of undesirable microorganisms.



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       …

       (7) Equipment, containers, and utensils used to convey, hold, or
       store raw materials and other ingredients, work-in-process,
       rework, or other food must be constructed, handled, and
       maintained during manufacturing, processing, packing, and
       holding in a manner that protects against allergen cross-contact
       and against contamination.

       …

21 C.F.R. § 117.80 (emphasis added)

19.    Section 117.93 of the CGMP provides in relevant part:

       Warehousing and distribution.

       Storage and transportation of food must be under conditions that will
       protect against allergen cross-contact and against biological,
       chemical (including radiological), and physical contamination of
       food, as well as against deterioration of the food and the container.

21 C.F.R. § 117.93

20.    Section 117.130 of the CGMP provides in relevant part:

       Hazard analysis.

       (a) Requirement for a hazard analysis. (1) You must conduct a
       hazard analysis to identify and evaluate, based on experience,
       illness data, scientific reports, and other information, known or
       reasonably foreseeable hazards for each type of food
       manufactured, processed, packed, or held at your facility to
       determine whether there are any hazards requiring a preventive
       control.

       (2) The hazard analysis must be written regardless of its
       outcome.

       (b) Hazard identification. The hazard identification must
       consider:

       (1) Known or reasonably foreseeable hazards that include:

       (i) Biological hazards, including microbiological hazards such as
       parasites, environmental pathogens, and other pathogens;


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      (ii) Chemical hazards, including radiological hazards, substances
      such as pesticide and drug residues, natural toxins, decomposition,
      unapproved food or color additives, and food allergens; and

      (iii) Physical hazards (such as stones, glass, and metal fragments);
      and

      (2) Known or reasonably foreseeable hazards that may be
      present in the food for any of the following reasons:

      (i) The hazard occurs naturally;

      (ii) The hazard may be unintentionally introduced; or

      (iii) The hazard may be intentionally introduced for purposes of
      economic gain.

      (c) Hazard evaluation. (1)(i) The hazard analysis must include
      an evaluation of the hazards identified in paragraph (b) of this
      section to assess the severity of the illness or injury if the hazard
      were to occur and the probability that the hazard will occur in
      the absence of preventive controls.

      (ii) The hazard evaluation required by paragraph (c)(1)(i) of this
      section must include an evaluation of environmental pathogens
      whenever a ready-to-eat food is exposed to the environment
      prior to packaging and the packaged food does not receive a
      treatment or otherwise include a control measure (such as a
      formulation lethal to the pathogen) that would significantly
      minimize the pathogen.

      (2) The hazard evaluation must consider the effect of the
      following on the safety of the finished food for the intended
      consumer:

      (i) The formulation of the food;

      (ii) The condition, function, and design of the facility and
      equipment;

      (iii) Raw materials and other ingredients;

      (iv) Transportation practices;

      (v) Manufacturing/processing procedures;



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       (vi) Packaging activities and labeling activities;

       (vii) Storage and distribution;

       (viii) Intended or reasonably foreseeable use;

       (ix) Sanitation, including employee hygiene; and

       (x) Any other relevant factors, such as the temporal (e.g., weather-
       related) nature of some hazards (e.g., levels of some natural toxins).

21 C.F.R. § 117.130 (emphasis added)

21.    Section 117.135 of the CGMP provides in relevant part:

       Preventive controls.

       (a)(1) You must identify and implement preventive controls to
       provide assurances that any hazards requiring a preventive
       control will be significantly minimized or prevented and the
       food manufactured, processed, packed, or held by your facility
       will not be adulterated under section 402 of the Federal Food,
       Drug, and Cosmetic Act or misbranded under section 403(w) of
       the Federal Food, Drug, and Cosmetic Act.

       (2) Preventive controls required by paragraph (a)(1) of this section
       include:

       (i) Controls at critical control points (CCPs), if there are any CCPs;
       and

       (ii) Controls, other than those at CCPs, that are also appropriate for
       food safety.

       (b) Preventive controls must be written.

       (c) Preventive controls include, as appropriate to the facility and the
       food:

       (1) Process controls. Process controls include procedures,
       practices, and processes to ensure the control of parameters
       during operations such as heat processing, acidifying,
       irradiating, and refrigerating foods. Process controls must
       include, as appropriate to the nature of the applicable control
       and its role in the facility's food safety system:



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      (i) Parameters associated with the control of the hazard; and

      (ii) The maximum or minimum value, or combination of values,
      to which any biological, chemical, or physical parameter must
      be controlled to significantly minimize or prevent a hazard
      requiring a process control.

      …

      (3) Sanitation controls. Sanitation controls include procedures,
      practices, and processes to ensure that the facility is maintained
      in a sanitary condition adequate to significantly minimize or
      prevent hazards such as environmental pathogens, biological
      hazards due to employee handling, and food allergen hazards.
      Sanitation controls must include, as appropriate to the facility
      and the food, procedures, practices, and processes for the:

      (i) Cleanliness of food-contact surfaces, including food-contact
      surfaces of utensils and equipment;

      (ii) Prevention of allergen cross-contact and cross-
      contamination from insanitary objects and from personnel to
      food, food packaging material, and other food-contact surfaces
      and from raw product to processed product.

      (4) Supply-chain controls. Supply-chain controls include the
      supply-chain program as required by subpart G of this part.

      (5) Recall plan. Recall plan as required by 117.139.

      (6) Other controls. Preventive controls include any other
      procedures, practices, and processes necessary to satisfy the
      requirements of paragraph (a) of this section. Examples of other
      controls include hygiene training and other current good
      manufacturing practices.




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                       FSMA WHISTLEBLOWER PROTECTIONS

       22.    The FSMA protects employees from discharge or other retaliation by their

employers for making good faith complaints about food safety, food production safety, or other

violations of the FD&C Act. In this regard, the FSMA provides:

              No entity engaged in the manufacture, processing, packing,
              transporting, distribution, reception, holding, or importation of food
              may discharge an employee or otherwise discriminate against an
              employee with respect to compensation, terms, conditions, or
              privilege of employment because the employee, whether at the
              employee’s initiative or in the ordinary course of the employee’s
              duties (or any person acting pursuant to a request of the employee)
              –

              (1) provided, caused to be provided, or is about to provide or
              cause to be provided to the employer, the Federal Government,
              or the attorney general of a State information relating to any
              violation of, or any act or omission the employee reasonably
              believes to be a violation of any provision of this chapter or any
              order, rule, regulation, standard, or ban under this chapter, or
              any order, rule, regulation, standard, or ban under this chapter;

              (2) testified or is about to testify in a proceeding concerning such
              violation;

              (3) assisted or participated or is about to assist or participate in such
              a proceeding; or

              (4) objected to, refused to participate in, any activity, policy,
              practice, or assigned task that the employee (or other such
              person) reasonably believed to be in violation of any provision
              of this chapter, or any order, rule, regulation, standard, or ban
              under this chapter.

       21 U.S.C. § 399d (emphasis added)

       23.    An employee who believes that he or she has been retaliated against in violation of

FSMA may file a complaint alleging such retaliation within 180 days after an alleged violation of

FSMA occurs. 29 C.F.R. § 1987.103(a), (d).




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        24.      Upon receipt of a complaint alleging retaliation in violation of FSMA, OSHA will

conduct an investigation of the allegations included in the complaint. 29 C.F.R. § 1987.104, et

seq.

        25.      A Plaintiff must make “a prima facie showing (i.e. non-frivolous allegation) that a

protected activity was a contributing factor in the adverse action alleged in the complaint.” 29

C.F.R. § 1987.104(e)(1). FSMA’s implementing regulations provide in relevant part:

                 [T]he Plaintiff will be considered to have met the required burden if
                 the complaint on its face, supplemented as appropriate through
                 interviews of the Plaintiff, alleges the existence of facts and either
                 direct or circumstantial evidence to meet the required showing, i.e.,
                 to give rise to an inference that the Defendant knew or suspected
                 that the employee engaged in protected activity and that the
                 protected activity was a contributing factor in the adverse action.
                 The burden may be satisfied, for example, if the complaint shows
                 that the adverse action took place within a temporal proximity of the
                 protected activity, or at the first opportunity available to the
                 Defendant, giving rise to the inference that it was a contributing
                 factor in the adverse action.

        29 C.F.R. § 1987.104(e)(3)

                                                COVID-19

        26.      On January 31, 2020, the U.S. Department of Health and Human Services (“HHS”)

issued a declaration of a public health emergency related to SARS CoV-2, the virus that causes

Coronavirus Disease 2019 (“COVID-19”) pursuant to the Public Health Service Act (42 U.S.C.

247d) and mobilized the Operating Divisions of HHS. 1

        27.      On March 11, 2020, the World Health Organization designated COVID-19 as a

pandemic. 2


         1 Secretary of Health and Hunan Services Alex M. Azar II, Determination that a Public Health Emergency
Exists (Jan. 31, 2020), available at https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx
         2 WHO Director-General opening remarks at media Briefing on COVID-19 (March 11, 2020), available at
https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-
19---11-march-2020


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       28.     On March 13, 2020, the White House issued a Proclamation on Declaring a

National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak pursuant

to Sections 201 and 301 of the National Emergencies Act (50 U.S.C. 1601 et seq.) and consistent

with Section 1135 of the Social Security Act (42 U.S.C. 1320b-5).

       29.     On March 16, 2020, OSHA released Guidance on Preparing Workplaces for

COVID-19 with directives to employers related to implementation of basic infection and

workplace safety measures. 3 OSHA’s guidance provided in relevant part:

               To reduce the impact of COVID-19 outbreak conditions on
               businesses, workers, customers, and the public, it is important for all
               employers to plan now for COVID-19. For employers who have
               already planned for influenza pandemics, planning for COVID-19
               may involve updating plans to address the specific exposure risks,
               sources of exposure, routes of transmission, and other unique
               characteristics of SARS-CoV-2 (i.e., compared to pandemic
               influenza viruses). Employers who have not prepared for
               pandemic events should prepare themselves and their workers
               as far in advance as possible of potentially worsening outbreak
               conditions. Lack of continuity planning can result in a cascade
               of failures as employers attempt to address challenges of
               COVID-19 with insufficient resources and workers who might
               not be adequately trained for jobs they may have to perform
               under pandemic conditions.

               The Occupational Safety and Health Administration (OSHA)
               developed this COVID-19 planning guidance based on traditional
               infection prevention and industrial hygiene practices. It focuses on
               the need for employers to implement engineering,
               administrative, and work practice controls and personal
               protective equipment (PPE), as well as considerations for doing
               so.

       30.     On March 18, 2020, the United States Department of Homeland Security (“DHS”)

issued Guidance on the Essential Critical Infrastructure Workforce: Ensuring Community and




       3 https://www.osha.gov/Publications/OSHA3990.pdf


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National Resilience in COVID-19. 4             The guidance provided that workers in the Food and

Agriculture sector – agricultural production, food processing, distribution, retail and food service

and allied industries – were named as essential infrastructure workers. On March 28, DHS issued

its Advisory Memorandum on Identification of Essential Critical Infrastructure Workers During

COVID-19 Response. 5 The memorandum included an advisory list of “workers who conduct a

range of operations and services that are typically essential to continued critical infrastructure

viability” that specifically identified as essential workers “food manufacturer workers and their

supplier workers including those employed at food ingredient production and processing

facilities.”

        31.      On April 20, 2020, the CDC issued interim guidance Implementing Safety Practices

for Critical Infrastructure Workers Who May Have Had Exposure to a Person with Suspected or

Confirmed COVID-19. 6 The guidance “pertains to critical infrastructure workers, including

personnel in 16 different sectors of work including…workers in food and agriculture facilities.”

The guidance provided in relevant part:

                 To ensure continuity of operations of essential functions, CDC
                 advises that critical infrastructure workers may be permitted to
                 continue to work following potential exposure to COVID-19,
                 provided they remain asymptomatic and additional precautions are
                 implemented to protect them and the community.




        4 https://www.cisa.gov/identifying-critical-infrastructure-during-covid-19
         5https://www.cisa.gov/sites/default/files/publications/Version_3.0_CISA_Guidance_on_Essential_Critical_
Infrastructure_Workers_1.pdf
         6https://www.cdc.gov/coronavirus/2019-ncov/community/critical-workers/implementing-safety-
practices.html



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                    PLAINTIFF’S EMPLOYMENT AND TERMINATION

         32.    Plaintiff Danielle Opitz began her employment as a registered nurse at the Conagra

Brands production facility in Council Bluffs, Iowa, on July 22, 2019. In January 2020, Ms. Opitz

was promoted to the position of Health Services Nurse Supervisor. In this role, she reported to

Environmental Health & Safety (“EHS”) Manager Bill Latenser from the time of her promotion

until March 19, 2020.

         33.    In December 2019, the facility conducted and failed a Health Services internal

audit.    The internal audit revealed Health Services failures in areas that included OSHA

recordkeeping, bloodborne pathogen initial and annual training, job safety and functionality

analysis and renewal, and hazardous waste initial and annual training. The internal audit also

revealed that OSHA recordables were not entered into OSHA Intelex recordkeeping software or

reported to relevant authorities in the State of Iowa. Following her promotion to Health Services

Nurse Supervisor in January 2020, Ms. Opitz was tasked with resolving the issues raised in the

internal audit, and as part of these efforts Ms. Opitz independently raised other OSHA compliance-

related concerns related to employee and food production safety.

         34.    From February 10 until March 9, 2020, Ms. Opitz expressed serious concerns to

EHS Manager Bill Latenser regarding the absence of meaningful preparation at the facility for

workplace issues related to the inevitable threat of COVID-19. She specifically raised concerns

regarding numerous subjects that included:

    •     employee safety;
    •     food production safety;
    •     insufficient supplies of personal protective equipment (“PPE”);
    •     disinfection protocols in all areas of the plant, including food production and packaging
          areas;
    •     sanitation protocols in all areas of the plant, including food production and packaging
          areas;

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    •    employee distancing protocols in all areas of the plant, including food production and
         packaging areas;
    •    restriction of non-essential visitors and contractors, including suspension of plant tours;
    •    screening tools for plant visitors, new hire employees, and employees returning to work
         from leaves of absence;
    •    tracking of domestic and international travel plans for employees; and
    •    failure to adequately educate or instruct employees regarding COVID-19 or necessary
         guidelines and protocols.

        35.     In response to Ms. Opitz’s concerns, Bill Latenser acknowledged the facility’s

general lack of preparedness and agreed that senior plant leadership needed to immediately begin

preparations to address employee and food production safety. He also agreed that members of the

Health Services team needed to be prepared to lead the facility’s efforts to prepare the facility for

COVID-19. Throughout February and early March, Ms. Opitz expressed frustration that her

opinions as a medical professional were not being considered. Ms. Opitz specifically complained

that employees’ lives would soon be at risk and food production safety at the facility was in serious

jeopardy. Ms. Opitz insisted that Mr. Latenser must elevate her concerns to members of senior

plant leadership. In response to these regular concerns raised by Ms. Opitz, Mr. Latenser assured

her that senior plant leadership was aware of COVID-19’s potential impact on employee and food

production safety and agreed to elevate her concerns to those to whom he reported.

        36.     On March 9, Ms. Opitz expressed concerns to Bill Latenser and her nurse colleague

Jamie Bishop regarding inefficiencies in plant safety in preparation for COVID-10. Ms. Opitz

recommended again that the plant must limit and monitor plant visitors, increase sanitation and

disinfection efforts, educate employees more deliberately on COVID-19 and its symptoms and

treatment, and adopt more transparent guidelines and protocols for employee and food production

safety. Mr. Latenser and Ms. Bishop agreed with her recommendations and agreed that additional

steps must be taken immediately in response to the threat posed by COVID-19.


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       37.     A plant tour attended by more than 30 members of senior leadership from plants

across the country was conducted the same day without notice to members of Health Services.

Ms. Opitz and Jamie Bishop approached Bill Latenser when they learned of the tour and advised

him that it should not be conducted because it posed a reckless and unnecessary threat to employees

and food production safety. Mr. Latenser apologized for failing to advise members of Health

Services about the tour and agreed to more directly involve Ms. Opitz and Ms. Bishop in

discussions among members of senior leadership about workplace preparedness for COVID-19.

Later the same day Ms. Opitz advised Mr. Latenser that members of Health Services had no access

to available PPE at the plant, that both the Health Services and Environmental Health & Safety

Departments had run out of disinfecting spray and wipes, and that the plant was unable to source

these materials in area stores or online.

       38.     On March 10, Ms. Opitz was invited to address a senior leadership meeting attended

by Plant Manager Jon Sundstrom, Assistant Plant Manager Mike Palmer, Manager of Plant Quality

John Rathfon, HR Generalist Sara Kucera, and Bill Latenser regarding COVID-19 and Health

Services recommendations for necessary precautions related to employee and food production

safety. After the meeting Ms. Kucera came to Ms. Opitz’s office and asked about steps that had

already been taken at the plant in response to threats posed by COVID-19. In response, Ms. Opitz

advised Ms. Kucera that very few precautions had been taken, that she had been raising concerns

on this subject for weeks without success, and that significant efforts should be immediately

undertaken to protect employees and food production. Later the same day, Assistant Plant

Manager Mike Palmer convened an emergency meeting related to sanitation preparations for

COVID-19 attended by Mr. Sundstrom, Mr. Rathfon, Mr. Latenser, Ms. Kucera, and Ms. Opitz.




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       39.     On March 18, Ms. Opitz again advised Bill Latenser that Health Services had no

access to any available PPE, that Health Services had run out of disinfecting spray and wipes, and

that the plant was unable to source these materials in area stores or online. Mr. Latenser instructed

Ms. Opitz to try to source these items locally, but she was unable to do so. On March 20, Mr.

Latenser began to work exclusively from home, citing his concern for the threat of contracting

COVID-19 in the course of his duties at work. From March 20 until April 7, Ms. Opitz was the

sole remaining EHS representative on site at the facility.

       40.     On March 23, Ms. Opitz sent Occupational Health Manager Julie Lecci an email

asking about her availability to discuss Ms. Opitz’s concerns about insufficient COVID-19 related

guidelines and protocols for employee and food production. Ms. Optiz spoke to Ms. Lecci later

that evening and explained that she was concerned about the absence of leadership in Health

Services after Mr. Latenser’s departure from the facility. She also expressed frustration that her

opinions as a medical professional were not being considered and that senior leadership had

refused to take her numerous complaints about insufficient COVID-19 related guidelines and

protocols seriously after she had first raised these issues at the senior leadership meeting on March

9. Ms. Lecci explained in response that she felt that “corporate guidance will be issued very soon.”

Ms. Opitz expressed her concern about a potential outbreak in her nursing staff, insisted that

additional Health Services resources were required, and explained to Ms. Lecci that preparations

must begin immediately. In response Ms. Lecci said only that “occupational nursing is different

from hospital nursing and sometimes we just have to take a back seat. She added “sometimes

occupational nursing isn’t for everyone, but we’ll keep in touch if you have additional concerns.”

       41.     Following a COVID-19 leadership meeting on April 10, Plant Manger Jon

Sundstrom advised Ms. Opitz that in the absence of on-site leadership in Health Services, Ms.



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Opitz and her colleagues in Health Services would thereafter report to Human Resources Manager

Sarah Bradley. In the weeks that followed Ms. Opitz repeatedly raised with Ms. Bradley her

ongoing concerns regarding inadequate preparation at the facility for workplace issues related to

COVID-19 without significant feedback or progress. Soon thereafter Ms. Bradley began to

unnecessarily criticize Health Services staffing and question Ms. Opitz on various Health Services

efforts related to preparation for COVID-19. The working relationship between Ms. Opitz and

Ms. Bradley deteriorated rapidly. Later in April Ms. Bradley informed Bill Latenser that she would

complete Ms. Opitz’s annual review that was scheduled to be completed by the end of the month

for the previous fiscal year.     At the time of Ms. Bradley’s annual review of Ms. Opitz’s

performance, Ms. Optiz had reported to her for six days.

       42.     On April 29, Ms. Opitz and Ms. Bradley spoke by phone, and during their

conversation Ms. Opitz expressed her frustration with the manner in which they had interacted

since she began reporting to Ms. Bradley. During the conversation Ms. Opitz cried as she

explained that Ms. Bradley had been unnecessarily aggressive with her since she began reporting

to her on April 10, and that she felt that she was being undermined in her ability to fulfill her duties

as Nurse Manager. She expressed that she should perhaps provide her two-week notice because

Ms. Bradley did not seem to appreciate her efforts as Nurse Manager in extraordinarily difficult

circumstances. Ms. Bradley apologized and explained that she has “different expectations.” Ms.

Bradley explained that she would be back at the plant the following day and that they could talk

further about Ms. Opitz’s concerns when she returned.

       43.     When Ms. Opitz arrived on April 30, she was asked to attend a meeting in Sarah

Bradley’s office with Plant Manager Jon Sundstrom. Though she had not offered her resignation

and expected to discuss the concerns she had raised the previous day, Ms. Bradley said “we are



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going to move forward with your two-week notice” and “we need to talk about transitioning your

tasks over to the other nurses.” In response Ms. Opitz said “ok, but this is a terrible time to leave

– during a pandemic. I can’t leave my nurses.” She explained to Ms. Bradley and Mr. Sundstrom

that she was concerned that Health Services would suffer if she left her position and that she felt

the associates at the facility needed her. She explained also that “all [she] ever wanted was to do

is be a nurse and work as a healthcare professional.” She then said that each time she raised

concerns about inadequate preparation at the facility for workplace issues related to COVID-19

she felt hostility about her concerns from those to whom she had reported them, including Ms.

Bradley. Ms. Opitz explained that she felt her efforts were unfairly and unnecessarily scrutinized,

and that Ms. Bradley had been openly hostile to her throughout the time she had reported to her.

Ms. Bradley then asked Ms. Opitz to “write down your tasks and provide a checklist for each one.”

After Ms. Opitz began crying, she said again that she felt that she would be “putting [her] nurses

in a bad situation if [she] left.” Ms. Bradley said only in response that she would “start the

transition immediately.”

       44.     After their meeting Ms. Opitz returned to her office and encountered her colleague

Christy Anville, who was not scheduled to be at work. When Ms. Opitz asked her why she was

there, Ms. Anville replied “I have no idea why I’m here. Sarah Bradley called me yesterday

afternoon and asked if I could come into work at 9 a.m. today.” Later Ms. Anville explained that

after she asked Ms. Bradley why she had been asked to report to work, Ms. Bradley informed her

that she “wanted you to start transitioning work to me.”

       45.     On May 1, Ms. Opitz met with Plant Manager Jon Sundstrom and Senior HR

Generalist Sarah Kucera at her request. At the meeting Ms. Opitz detailed numerous concerns

regarding employee safety, food production safety, retaliation in the form of unreasonable scrutiny



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by Sarah Bradley after she raised concerns about COVID-19 preparations and response,

confidentiality of employee health records and information, and other related subjects. At the

meeting Ms. Opitz also insisted that she was forced to provide her two-week notice against her

wishes and at the instruction of Ms. Bradley. Ms. Opitz explained that she did not want to resign

her position with Conagra Brands. During the meeting Ms. Kucera took notes that she later

declined to provide to Ms. Opitz. Mr. Sundstrom explained that he would follow-up with Ms.

Opitz on Monday, May 4 to address the issues she had raised.

       46.     On May 4, Ms. Opitz met with Sarah Bradley in her office and asked why Health

Services had not been consulted in return to work screening at the facility. Ms. Bradley explained

that Occupational Health Manager Julie Lecci was directing these efforts. Ms. Opitz expressed

frustration that Health Services was not involved in a meaningful way, and insisted that her nursing

staff should have been utilized in this process.

       47.     On May 5, Ms. Opitz exchanged emails with Julie Lecci regarding return to work

screening with copies to Plant Manager Jon Sundstrom, Assistant Plant Manager Mike Palmer,

Sarah Bradley, and Bill Latenser. In her final email on this subject to Ms. Lecci, Ms. Opitz

explained:

               Thank you for explaining the purpose, however, that still doesn’t
               explain why Health Services wasn’t involved in the return to work
               guidance and provided a copy of the questionnaire prior to it being
               distributed. When there isn’t transparency between the different
               departments it shows gaps in leadership which in turn makes HS
               look unprofessional and unorganized. I was put in this position
               yesterday afternoon when an associated presented to HS because of
               his answers from the screening tool and I was unaware of what was
               going on.

               Could you please provide clarification if Health Services should be
               involved or provided guidance on the first day back pre-shift
               screening? I just want to make sure I am giving clear direction to
               my team!


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              Thank you!

       48.    The same day Conagra Union Representative Barbara Gamache came to Ms.

Opitz’s office and expressed her concern that employees were not being notified when someone

in their work area has tested positive for COVID-19, placing them at risk for workplace exposure.

She explained further that she was concerned by the general lack of communication from senior

management regarding testing, exposure, and employee health and safety more generally. In

response Ms. Optiz explained that she was unable to provide her with additional information

because Health Services had been excluded from the testing and reporting efforts, and that Hunan

Resources and senior leadership were handling testing without direction or assistance from Health

Services. Ms. Gamache asked why Human Resources was involved in testing and reporting of

COVID-19 cases at the facility and questioned why Human Resources representatives had access

to employees’ medical information and test results. Ms. Opitz advised her to direct questions to

her Union representatives. After Ms. Gamache contacted Union representatives, BCTGM Local

50g Business Agent Rob Down contacted Ms. Opitz and asked for OSHA-related information,

which Ms. Opitz later provided to Mr. Down by email.

       49.    Later on May 5, Ms. Opitz spoke with Bill Latenser by phone to seek guidance

regarding the issues she had raised with Jon Sundstrom and Sarah Kucera on May 1, including her

numerous concerns regarding employee safety, food production safety, and retaliation in the form

of unreasonable scrutiny by Sarah Bradley after she raised concerns about COVID-19 preparations

and response. She explained that she had been set up by Ms. Bradley in a meeting with Mr.

Sundstrom on April 30 to force her resignation. Mr. Latenser asked whether she had provided

anything in writing to Ms. Bradley before they met that day and Ms. Opitz explained that they had

not. She explained to him that she would “never quit during a pandemic because the associates


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and nurses need me,” and because “COVID has just started to hit the plant.” She told Mr. Latenser

that she knows Ms. Bradley wants her “out of Conagra.” In response Mr. Latenser said he was

surprised to learn of her resignation and acknowledged that Ms. Bradley wanted Ms. Opitz to

leave. He explained that two weeks before, Ms. Bradley had instructed him not to complete Ms.

Opitz’s annual review because she intended to complete it herself. He expressed his regret that

Ms. Opitz had been put in this position and praised her work and dedication as Nurse Manager.

Ms. Opitz told Mr. Latenser “I have never worked so hard to prove I can do my job. I want to be

able to. I have been in fear in the past few months that my nursing license would be compromised

because senior management and Sarah Bradley will not provide me with the information I need to

be successful. They have purposefully withheld information related to COVID positive associates,

medical documentation, COVID test results, associate follow-ups.” She explained that she needed

to “file a legal action” and asked how she should do that. In response Mr. Latenser said he would

“reach out to some contacts I have in mind at Conagra and get back to you.” She thanked him for

his guidance. Mr. Latenser did not provide the names or contacts details for anyone at Conagra

that could assist her.

        50.     On May 6, Ms. Opitz sent an email to Conagra Legal Compliance and Ethics

representatives (legalcomplianceandethics@conagra.com) with copies to Jon Sundstrom and Bill

Latenser seeking to file a Code of Conduct complaint in an effort to protect herself from the

retaliation she had experienced after she raised concerns about the facility’s inadequate COVID-

19 preparations and response. The email read:

                I require assistance with legal council [sic] as it pertains to
                Conagra’s Code of Conduct violations. Could you please provide
                guidance on how I would move forward immediately on filing a
                claim?

        51.     The following morning Ms. Opitz sent an email to Bill Latenser that read:


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               Hi Bill!

               I hope you are having a great morning! Can you please call me as
               soon as you can, I have a lot of concerns and I need to talk to
               someone who can help me. Thank you!

       52.     Later the same day, Human Resources Director Robbyn Linville called Ms. Opitz

by phone in response to the Code of Conduct complaint she had submitted the day before. Ms.

Opitz explained her continuing concerns regarding employee safety, food production safety, her

forced resignation, and retaliation by Sarah Bradley after she raised concerns about the facility’s

COVID-19 preparations and response. Ms. Linville acknowledge her concerns, described them as

“very valid,” and explained that her complaint would need to be “investigated thoroughly in an

internal investigation” Ms. Linville invited Ms. Opitz to speak directly with her at her office in

Omaha on Monday, May 11 to “go over all of the details,” and Ms. Opitz agreed to do so. Ms.

Linville then explained that she would be in touch about a specific time for their meeting.

       53.     On May 9, Ms. Opitz sent an email to Julie Lecci, her nurse colleague Jamie Bishop,

and Environment, Safety & Health Registered Nurse Shelley Marshall that read:

               Good afternoon,

               I am reaching out regarding new or updated guidance on ConAgra’s
               COVID Plant Protocol. The last protocol Health Services received
               was 4/8/20. Has there been any new direction since?

               In Health Services, we are experiencing an escalating increase on
               associates being sent of our illness. Can you please provide updated
               direction and guidance on what Conagra’s expectations are during
               this pandemic? And expectations and protocol for follow-up for
               associates who are out sick?

               Thank you!

       54.     At 8:30 a.m. on Monday, May 11, Plant Manager Jon Sundstrom and Human

Resources Manager Sarah Bradley arrived at Ms. Opitz’s office. Ms. Bradley told her “Danielle,

Conagra feels you no longer have the best interest of the company and we want you to grab your

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personal items and you will not be allowed on the Conagra premises. We will pay you through

May 20, 2020.” Ms. Bradley instructed Ms. Opitz “do not to have any contact with the nurses or

other staff regarding Conagra.” Ms. Bradley then handed Ms. Opitz her business card, took

possession of her keycard and key, and instructed her not to log off of her computer. Ms. Opitz

was then escorted from the facility.

       55.     On May 14, Sarah Bradley sent an email to senior leadership that read:

               Good morning. I want to inform you that Danielle Opitz the Team
               Lead for Health Services has resigned. Over the next few weeks
               we’re interviewing candidates for a permanent backfill of the role.
               In the meantime, I ask for your patience as we’re going to have some
               new faces learning to support the plant and will likely incur some
               closures of the Health Services office. We remain committed to
               providing the professional healthcare support you’ve come to expect
               and will have a permanent solution as soon as possible.

               Please share with your teams as you see necessary.

                      COUNT ONE – VIOLATION OF 21 U.S.C. § 399d

       56.     Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

       57.     Plaintiff was an employee of Defendant Conagra Brands, Inc.

       58.     Conagra Brands is vicariously liable for the actions of their employees and agents.

       59.     Conagra Brands is covered entity engaged in the manufacture, processing, packing,

transporting, distribution, reception, holding, or importation of food as set forth in relevant anti-

retaliation provisions of the FSMA, 21 U.S.C. Section 399d, et seq.

       60.     Plaintiff in good faith engaged in protected activities or conduct within the meaning

of the FMSA by providing or causing to be provided to Conagra Brands information relating to

any violation of, or any act or omission that she reasonably believed to be a violation of the FSMA,

including any order, rule, regulation, standard, or ban under the FSMA.




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       61.     Plaintiff also in good faith engaged in protected activities or conduct within the

meaning of the FSMA by objecting to and refusing to participate in activities, policies, practices,

and/or assigned tasks that she reasonably believed to be in violation of the FSMA, including any

order, rule, regulation, standard, or ban under the FSMA.

       62.     Conagra Brands and its agents knew that Plaintiff engaged in protected activities or

conduct within the meaning of the FMSA.

       63.     Plaintiff suffered an unfavorable personnel action when her employment was

terminated on May 11, 2020.

       64.     The reasons cited by Conagra Brands for the termination of Plaintiff’s employment

constitute pretext for unlawful retaliation against Plaintiff because she engaged in a lawful act by

engaging in protected activities or conduct within the meaning of the FMSA.

       65.     The circumstances as described herein are sufficient to raise the inference that

Plaintiff’s protected activity was a contributing factor in Defendant’s decision to retaliate against

Plaintiff and in Defendant’s decision to terminate her employment.

       66.     As a direct and proximate result of Defendant’s actions, Plaintiff has been deprived

of income and other monetary and non-monetary benefits for which she is entitled to recover from

Defendant as damages, pursuant to 21 U.S.C. 399d(b)(4) (B)(ii).

       67.     As a further direct and proximate result of Defendant’s actions, Plaintiff has

suffered humiliation, emotional pain, distress, suffering, inconvenience, mental anguish, and

related non-economic damages for which she is entitled to recover from Defendant as damages, as

provided in 21 U.S.C. 399d(b)(4) (B)(iii).




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       68.     Plaintiff is further entitled to all relief necessary to make her whole, including but

not limited to reinstatement with the same seniority status or front-pay in lieu of reinstatement and

back pay with interest, as provided in 21 U.S.C. 399d(b)(4) (B)(i).

       69.     Plaintiff is further entitled to recover from Defendant any and all special damages,

including but not limited to litigation costs, expert witness fees, and her reasonable attorneys’ fees,

as provided in 21 U.S.C. 399d(b)(4) (B)(iii).

                     COUNT TWO – VIOLATION OF PUBLIC POLICY

       70.     Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

       71.     Plaintiff reported to her supervisors what she in good faith and reasonably believed

to be unlawful ongoing violations of federal safety standards adopted by OSHA.

       72.     The Iowa legislature’s adoption of the federal safety standards, codified in Chapter

88 of the Iowa Code, establishes the public policy against retaliating or discharging employees

who make complaints regarding safety standards.

       73.     It is against the public policy of the State of Iowa to discharge or in any way

discriminate against an employee who reports safety issues or who refuses to expose herself or

other employees to dangerous working conditions.

       74.     It is also against the public policy of the State of Iowa to discharge an employee for

reporting what she in good faith and reasonably believed to be unlawful ongoing safety violations.

       75.     Defendant’s retaliation and discharge of Plaintiff for reporting such safety

violations violates Iowa’s public policy.

       76.     If allowed to go unremedied, Plaintiff’s discharge would frustrate the well-

recognized and defined public policy of the State of Iowa because it would have a chilling effect




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on employees’ willingness to exercise their rights and would discourage employees from reporting

safety issues and violations.

       77.     Plaintiff’s protected activities in complaining about safety issues and violations

were a determining factor in Defendant’s decision to terminate her.

       78.     As a result of Defendant’s acts and omissions, Plaintiff has in the past, and will in

the future, suffer injuries and damages, including but not limited to mental and emotional distress,

lost enjoyment of life; and lost wages, benefits and other emoluments of employment.

       79.     Plaintiff is entitled to an amount which will fully and fairly compensate her for her

injuries and damages, punitive damages in amounts sufficient to punish Defendant and deter

Defendant and others from similar conduct in the future, for pre-judgment and post-judgment

interest, attorneys’ fees, the costs and expenses of this action, and such other relief as may be just

in the circumstances and consistent with the public policy of the State of Iowa.




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                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which she has a right to trial by jury.


                                          Respectfully submitted,

                                          /s/ Aimee Bataillon
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